        Case 1:13-cr-00136-DAD-BAM Document 349 Filed 12/09/14 Page 1 of 2


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8                        IN THE UNITED STATES DISTRICT COURT

9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,          ) 1:13-CR-00136-AWI-BAM
                                        )
12                      Plaintiff,      ) ORDER FOR FORFEITURE MONEY
                                        ) JUDGMENT
13          v.                          )
                                        )
14   LOC HUU CHAU,                      )
                                        )
15                      Defendant.      )
                                        )
16                                      )
17          Based upon the United States’ Application for Forfeiture Money

18   Judgment and the plea agreement entered into between plaintiff United

19   States of America and defendant Loc Huu Chau,

20          IT IS HEREBY ORDERED that

21          1.   The defendant Loc Huu Chau shall forfeit to the United

22   States the sum of $51,400 and that the Court imposes a personal

23   forfeiture money judgment against defendant in that amount.

24          2.   Any funds applied towards such judgment shall be forfeited

25   to the United States of America and disposed of as provided for by

26   law.    Prior to the implementation of sentence, any funds delivered to

27   the United States to satisfy the personal money judgment shall be

28   seized and held by the Internal Revenue Service – Criminal

29
                                            1        Order for Forfeiture Money Judgment
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         Case 1:13-cr-00136-DAD-BAM Document 349 Filed 12/09/14 Page 2 of 2


1    Investigations, in its secure custody and control.

2          3.    This Order of Forfeiture shall become final as to the

3    defendant at the time of sentencing and shall be made part of the

4    sentence and included in the judgment.

5          4.    The United States may, at any time, move pursuant to Rule

6    32.2(e) to amend this Order of Forfeiture to substitute property

7    having a value not to exceed $51,400 to satisfy the money judgment in

8    whole or in part.

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     IT IS SO ORDERED.
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11   Dated: December 9, 2014
                                      SENIOR DISTRICT JUDGE
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                                             2        Order for Forfeiture Money Judgment
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